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                                       UNITED STATES DISTRICT COURT
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                                    NORTHERN DISTRICT OF CALIFORNIA
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                                                  OAKLAND DIVISION
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      EPIC GAMES, INC.,                                     Case No. 4:20-cv-05640-YGR
12
                            Plaintiff, Counter-Defendant    [PROPOSED] ORDER GRANTING
13                                                          DEFENDANT APPLE INC’S MOTION
               v.                                           FOR RELIEF FROM A NONDISPOS-
14                                                          ITIVE PRETRIAL ORDER OF A
      APPLE INC.,                                           MAGISTRATE JUDGE
15
                            Defendant, Counterclaimant.
16                                                          The Honorable Yvonne Gonzalez Rogers
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28    [PROPOSED] ORDER GRANTING DEFENDANT APPLE, INC.’S
      MOTION FOR RELIEF FROM A NONDISPOSITIVE PRE-TRIAL
      ORDER OF A MAGISTRATE JUDGE                                             Case No.: 4:20-cv-05640-YGR-TSH
     Case 4:20-cv-05640-YGR               Document 1079-2       Filed 12/16/24   Page 2 of 2



 1             On December 16, 2024, Defendant Apple Inc. filed this Motion for Relief from a Non-
 2    Dispositive Pretrial Order of a Magistrate Judge. Having considered the papers and the conten-
 3    tions of the parties, and for good cause shown, the Court hereby GRANTS Defendant’s motion.
 4    The Magistrate Judge’s December 2, 2024 Discovery Order (Dkt. 1056) is hereby overruled to
 5    the extent it determined that the nine documents identified in Defendant’s motion are not protect-
 6    ed by the attorney-client privilege and/or work product doctrine.
 7             IT IS SO ORDERED.
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 9 Dated: ___________________, 2024
                                                            HON. YVONNE GONZALEZ ROGERS
10                                                        UNITED STATES DISTRICT COURT JUDGE
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28    [PROPOSED] ORDER GRANTING DEFENDANT APPLE, INC.’S
      MOTION FOR RELIEF FROM A NONDISPOSITIVE PRE-TRIAL
      ORDER OF A MAGISTRATE JUDGE                           1                    Case No.: 4:20-cv-05640-YGR-TSH
